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                     UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                         Case Number: 21-CV-469
C.D.A. et al

vs.

UNITED STATES OF AMERICA




                   Acceptance of Service by the United States Attorney

             Desiree Wilkins
      I ____________________________(print name) hereby accept service on behalf of the
United States Attorney (only).




                                         ____________________________________
                                         For the United States Attorney (Signature)
                                                  Desiree Wilkins
                                         ____________________________________
                                         Print Name
                                                 2/4/2021
                                         ____________________________________
                                         Date
